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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               : CASE NO. 1:22-cr-40
                                       :
                                       : (JUDGE BOASBERG)
            v.                         :
                                       :
SANDRA WEYER,                          :
                                       :
                                       :
                     Defendant.        :


                            ORDER OF COURT

AND NOW, this _________ day of _________, 2022, upon consideration

of the Motion to Continue the Status Conference said motion is GRANTED.

The Status Conference will now be held on the ___________ day of

____________, 2022, at ______.

      Under the Speedy Trial Act, delay resulting from any pretrial motion,

from the filing of the motion through the conclusion of the hearing, or other

prompt disposition of such motion, shall be excluded in computing the time

within which trial must be commenced. See 18 U.S.C. § 3161(h)(1)(D).



                                          BY THE COURT:



                                          _________________________
                                          JUDGE BOASBERG
